
COLE,
concurring in part and dissenting in part.
I am in complete agreement with the majority’s disposition of the Commissioners’ Eleventh Amendment claim. I write separately because I do not believe that this court has jurisdiction to consider the interlocutory appeal of the Commissioners’ other claims.
*869The Commissioners’ Eleventh Amendment claim is clearly appealable under the collateral order exception. See Sault Ste. Marie Tribe of Chippewa Indians v. Michigan, 5 F.3d 147, 149 (6th Cir.1993). However, the Commissioners’ Tenth Amendment and § 252 claims are not appealable collateral orders because those claims are not “effectively unreviewable on appeal from a final judgment.” See Coopers &amp; Lybrand v. Livesay, 437 U.S. 463, 468-69, 98 S.Ct. 2454, 57 L.Ed.2d 351 (1978). In addition, those claims do not fall under the doctrine of pendent appellate jurisdiction because they are not “inextricably intertwined” with the Eleventh Amendment claim, such that the Eleventh Amendment claim could not be determined without first addressing the nonappealable claims. See Chambers v. Ohio Dep’t of Human Servs., 145 F.3d 793, 797 (6th Cir.), cert. denied, — U.S. -, 119 S.Ct. 408, 142 L.Ed.2d 331 (1998).
Accordingly, I would affirm the district court’s denial of the Commissioners’ motion to dismiss based on the Eleventh Amendment, but dismiss the Commissioners’ other claims for lack of jurisdiction.
